                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                   CASE NO.: 3:20-cr-86(S1)-J-TJC-JBT

JORGE PEREZ
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        JORGE PEREZ’S MEMORANDUM IN OPPOSITION TO
        UNITED STATES’ NOTICE OF INTENT TO INTRODUCE
          MEDICAL OPINIONS OF TREATING PHYSICIANS

      Defendant Jorge Perez, through undersigned counsel, submits the

following memorandum in opposition to the Notice of Intent to Introduce

Medical Opinions of Treating Physicians (Doc. 700):

      As the government acknowledges, any portion of a lay person’s opinion

testimony that is based on “scientific, technical, or other specialized knowledge

within the scope of Rule 702” may not be admitted under the guise of lay opinion.

      The boundary between lay opinion “rationally based on the witness’s

perception” and expert opinion “based on scientific, technical, or other

specialized knowledge” is not always a distinct one. It must be drawn “based

upon the nature of the testimony.” United States v. Moran, 778 F.3d 942, 966-7

(11th Cir. 2015).   “[T]estimony that blurs into supposition and extrapolation

crosses the line into expertise.” Lebron v. Secretary of Florida Dept. of Children

and Families, 772 F.3d 1352, 1372 (11th Cir. 2014).

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      In Williams v. Mast Biosurgery USA, Inc., 644 F.3d 1312, 1316-8 (11th Cir.

2011), a product liability suit, the court addressed the “special evidentiary

problems” posed by a treating physician (sometimes called a “hybrid witness”)

who is not specifically retained for the litigation but can provide both fact and

expert testimony. A treating physician “is not considered an expert witness if he

or she testified about observations based on personal knowledge, including the

treatment of the party.” Id. at 1317 (quoting Davoll v. Webb, 194 F.3d 1116, 1138

(10th Cir. 1999)1). When a physician’s opinion is “based on his experience as a

physician and [is] clearly helpful to an understanding of his decision making

process in the situation,” such testimony may be admitted. Williams, id. (adding

emphasis); Chapman v. Procter & Gamble Distrib., LLC, 766 F.3d 1296, 1316 n.

23 (11th Cir. 2014) (physician’s lay opinion must be limited to knowledge derived

from “treatment of a patient plaintiff”). The Williams Court held that the treating

physician’s conclusion that her patient had swallowed some SurgiWrap (thereby

causing injury) was not necessary to treat her:

      The record establishes that her treating physicians were concerned
      with the presence of foreign material and with its effect on her
      physical condition. The exact identity of the substance was not
      critical to the decision to remove it. Indeed, the fact that none of the
      physicians found it necessary to identify definitively the removed
      pieces -- instead allowing them to be discarded -- demonstrates that
      conclusive findings about its identity were not necessary to her
      treatment.


      1Significantly,Davoll -- also relied upon by the government here -- was
decided before the 2000 amendment to Fed.R.Evid. 701.

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Id. at 1318. Thus, that physician’s opinion had been properly excluded under

Rule 701.

      Here, just as in Williams, physicians ordering urine or blood testing would

have been concerned with the reliability and accuracy of the test results so that

the doctor could made a diagnosis and fashion and implement a treatment plan

for the patient. The identity or location of the testing laboratory and the amount

billed were not necessary to treatment. No allegation has been made in this

proceeding that the test results were inaccurate, unreliable or fraudulent.

      The government is not genuinely interested in having these treating

physicians inform the jury about the medical history and treatment of their non-

party patients. The condition, diagnosis, treatment, prognosis or progress of any

of the patients of these proposed witnesses is not at issue in any way; those

matters are collateral and wholly irrelevant under Rule 401. Rather, it seeks to

open a door with such testimony so that an expert opinion based on scientific

knowledge can be brought in. Its own description of the testimony it anticipates

from these experts plainly shows it is crossing the line: “The Government expects

that at least some of these doctors will testify that the expensive urine drug tests,

particularly the confirmatory tests, that were ordered for their patients and billed

through the rural hospitals in this case were medically unnecessary ...” (Mot. at

1-2, 3). Such an opinion unavoidably requires scientific or specialized knowledge

that lay persons lack.


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      The simplest test for admissibility is this: Would a lay witness be allowed

to opine that some of “the expensive urine drug tests, particularly the

confirmatory tests, that were ordered [by treating physicians] were medically

unnecessary,” although some were appropriate? Surely not. Only a medical

expert could do so. Cf. United States v. Stahlman, 934 F.3d 1199, 1222-3 (11th

Cir. 2019) (FBI agent’s estimate as to age of girl in photo “required no specialized

knowledge -- any lay witness may properly estimate the age of a person in a

photograph based solely on their perception”). The testimony the government

wishes to present is unquestionably based on scientific or specialized knowledge

under Rule 702 and inadmissible from any witness in this case because the

disclosure requires of Fed.R.Crim.P. 16(a)(1)(G) were not met.

      Even assuming arguendo that the anticipated testimony did not require

scientific or specialized knowledge, it should still be excluded under Rule 403

because the dangers of confusing the issues, misleading the jury, unduly delaying

presentation of the evidence, and wasting time are clearly present. Defendant

expects a detailed cross-examination of each physician that would necessarily

entail disclosure of each patient’s identity, their medical problem(s), the testing

performed, the diagnosis made, the treatment recommended, and each patient’s

progress and outcome -- purely collateral matters -- so that defendant may verify

or disprove any possible causal connection between such patients and the

assertedly expensive and medically unnecessary testing.


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      Furthermore, this Court should consider the surprise to the defendants by

this late disclosure, their inability to cure the surprise at this late date, the

unimportance of this evidence, and the government’s failure to offer any

explanation for not disclosing this information months earlier as commanded by

Rule 16(a)(1)(G). See United States v. Jefferson, 2018 WL 6249848, at *2 and n.5

(M.D.Fla. 11/29/2018) (“Given a defendant’s right to discovery under Rule

16(a)(1)(g), the task of identifying expert opinions is particularly important in

criminal cases”); United States v. Cordoba, 2012 WL 3614319, at *2-*3 (M.D. Fla.

8/21/2012); United States v. Lamonda, 2006 WL 843823, at *1 (M.D. Fla.

3/29/2006).

                                           Respectfully submitted,


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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 25, 2022, I electronically filed the
foregoing with the clerk of the Court by using CM/ECF system which will send a
notice of electronic filing to A. Tysen Duva, AUSA and all counsel of record.

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